            Case 4:19-cv-00813-LPR Document 2 Filed 01/15/20 Page 1 of 9



                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


DUSTIN WARNOCK                                                                        PLAINTIFF


vs.                                   No. 4:19-cv-813-LPR


CAPITAL CITY TRAFFIC CONTROL, LLC,                                                  DEFENDANTS
and JAY MUNIZ


                  FIRST AMENDED AND SUBSTITUTED COMPLAINT


       COMES NOW Plaintiff Dustin Warnock (“Plaintiff”), by and through his attorneys

Lydia H. Hamlet and Josh Sanford of the Sanford Law Firm, PLLC, and for his First

Amended and Substituted Complaint against Capital City Traffic Control, LLC, and Jay

Muniz (collectively “Defendants”), he does hereby state and allege as follows:

                                           I.
                                JURISDICTION AND VENUE

       1.      Plaintiff brings this action under the Fair Labor Standards Act, 29 U.S.C. §

201, et seq. (“FLSA”), and the Arkansas Minimum Wage Act, Ark. Code Ann. § 11-4-

201, et seq. (“AMWA”), for declaratory judgment, monetary damages, liquidated

damages, prejudgment interest, and costs, including reasonable attorneys’ fees as a

result of Defendants’ failure to pay Plaintiff a proper overtime premium for certain hours

that Plaintiff worked over forty (40) each week, and for Defendants’ retaliation against

Plaintiff under the FLSA.

       2.      The purpose of this First Amended and Substituted Complaint is to add

Plaintiff’s claim for retaliation pursuant to the FLSA, 29 U.S.C. § 215(a)(3).


                                             Page 1 of 9
                      Dustin Warnock v. Capital City Traffic Control, LLC, et al.
                           U.S.D.C. (E.D. Ark.) Case No. 4:19-cv-813-LPR
                             First Amended and Substituted Complaint
           Case 4:19-cv-00813-LPR Document 2 Filed 01/15/20 Page 2 of 9



      3.      The United States District Court for the Eastern District of Arkansas has

subject matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331

because this suit raises federal questions under the FLSA.

      4.      Plaintiff’s claims under the AMWA form part of the same case or

controversy and arise out of the same facts as the FLSA claims alleged in this

complaint. Therefore, this Court has supplemental jurisdiction over Plaintiff’s AMWA

claims pursuant to 28 U.S.C. § 1367(a).

      5.      Defendants conduct business within the State of Arkansas, operating a

traffic control company based in North Little Rock.

      6.      Venue lies properly within this Court under 28 U.S.C. § 1391(b)(1) and

(c)(2), because the State of Arkansas has personal jurisdiction over Defendants, and

Defendants therefore “reside” in Arkansas.

      7.      Plaintiff was employed by Defendants at their traffic control company

located in the Western Division of the Eastern District of Arkansas.

      8.      The acts alleged in this Complaint had their principal effect within the

Western Division of the Eastern District of Arkansas, and venue is proper in this Court

pursuant to 28 U.S.C. § 1391.

                                             II.
                                        THE PARTIES

      9.      Plaintiff is a citizen of the United States and a resident and domiciliary of

Arkansas.

      10.     Plaintiff was employed by Defendants as an hourly employee from April of

2016 until September of 2017, then as a salaried employee from September of 2017


                                            Page 2 of 9
                     Dustin Warnock v. Capital City Traffic Control, LLC, et al.
                          U.S.D.C. (E.D. Ark.) Case No. 4:19-cv-813-LPR
                            First Amended and Substituted Complaint
          Case 4:19-cv-00813-LPR Document 2 Filed 01/15/20 Page 3 of 9



until June of 2018, and then again as an hourly employee from May 2019 until

December 3, 2019.

       11.    At all times material herein, Plaintiff has been entitled to the rights,

protections and benefits provided under the FLSA.

       12.    Defendant Capital City Traffic Control, LLC (“Capital City”), is a domestic

limited liability company.

       13.    Capital City’s registered agent for service is Jay Muniz, at 21410 Crab

Apple Circle, Hensley, Arkansas 72065.

       14.    Defendant Jay Muniz (“Muniz”) is a citizen of the United States and a

resident and domiciliary of Arkansas.

       15.    Muniz is the owner, principal, officer and/or director of Capital City.

       16.    Muniz manages and controls the day-to-day operations of Capital City,

including but not limited to the decision to not pay Plaintiff a sufficient wage.

       17.    Defendants own and operate a traffic control company.

       18.    Defendants have at least two (2) employees that handle, sell, or otherwise

work on goods or materials that have been moved in or produced for commerce.

       19.    Defendants’ annual gross volume of sales made or business done was not

less than $500,000.00 (exclusive of exercise taxes at the retail level that are separately

stated) during each of the three calendar years preceding the filing of this Complaint.

       20.    Defendants employed four or more individuals in each week in each of the

three years preceding the filing of this Complaint.




                                             Page 3 of 9
                      Dustin Warnock v. Capital City Traffic Control, LLC, et al.
                           U.S.D.C. (E.D. Ark.) Case No. 4:19-cv-813-LPR
                             First Amended and Substituted Complaint
          Case 4:19-cv-00813-LPR Document 2 Filed 01/15/20 Page 4 of 9



                                              III.
                                     FACTUAL ALLEGATIONS

       21.        Plaintiff repeats and re-alleges all previous paragraphs of this Complaint

as though fully incorporated in this section.

       22.        At all relevant times herein, Defendants were an “employer” of Plaintiff

within the meaning of the FLSA.

       23.        From September of 2017 until June of 2018, (“at all times material

herein”), Plaintiff was misclassified by Defendants as salaried and exempt from the

overtime requirements of the FLSA, 29 U.S.C. § 207.

       24.        At all relevant times herein, Defendants directly hired Plaintiff to work at

their facility, paid him wages and benefits, controlled his work schedules, duties,

protocols, applications, assignments and employment conditions, and kept at least

some records regarding his employment.

       25.        During the statutory period, Plaintiff worked as a traffic control technician.

       26.        Plaintiff’s duties included loading equipment, setting up traffic control

devices, flagging traffic, and cleaning the company trucks.

       27.        In carrying out his duties, Plaintiff followed instructions from his

supervisors and did not exercise independent judgment.

       28.        Plaintiff did not manage any other employees.

       29.        Plaintiff did not hire or fire any other employee.

       30.        Plaintiff was not asked to provide input as to which employees should be

hired or fired.

       31.        Plaintiff regularly worked over forty (40) hours per week.


                                                 Page 4 of 9
                          Dustin Warnock v. Capital City Traffic Control, LLC, et al.
                               U.S.D.C. (E.D. Ark.) Case No. 4:19-cv-813-LPR
                                 First Amended and Substituted Complaint
          Case 4:19-cv-00813-LPR Document 2 Filed 01/15/20 Page 5 of 9



       32.     At all times material herein, Plaintiff’s wages remained the same

regardless of how many hours he worked.

       33.     At all times material herein, Defendants have deprived Plaintiff of overtime

compensation for all the hours worked over forty (40) per week.

       34.     Defendants knew or showed reckless disregard for whether their actions

violated the FLSA and the AMWA.

       35.     On December 3, 2019, Defendants fired Plaintiff without legitimate

explanation.

       36.     Upon information and belief, Defendants terminated Plaintiff’s employment

in retaliation for asserting his rights under the FLSA.

                                          IV.
                                 FIRST CAUSE OF ACTION
                                 (Fair Labor Standards Act)

       37.     Plaintiff repeats and re-alleges all previous paragraphs of this Complaint

as though fully incorporated in this section.

       38.     Plaintiff asserts this claim for damages and declaratory relief pursuant to

the FLSA, 29 U.S.C. § 201, et seq.

       39.     At all times relevant to this Complaint, Defendants have been Plaintiff’s

“employer” within the meaning of the FLSA, 29 U.S.C. § 203.

       40.     At all times relevant to this Complaint, Defendants have been, and

continue to be, an enterprise engaged in commerce within the meaning of the FLSA, 29

U.S.C. § 203.

       41.     29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay all employees a minimum wage for all hours worked up to forty (40) in one week

                                             Page 5 of 9
                      Dustin Warnock v. Capital City Traffic Control, LLC, et al.
                           U.S.D.C. (E.D. Ark.) Case No. 4:19-cv-813-LPR
                             First Amended and Substituted Complaint
          Case 4:19-cv-00813-LPR Document 2 Filed 01/15/20 Page 6 of 9



and to pay one and one-half times regular wages for all hours worked over forty (40)

hours in a week, unless an employee meets certain exemption requirements of 29

U.S.C. § 213 and all accompanying Department of Labor regulations.

       42.    At all times material herein, Defendants misclassified Plaintiff as exempt

from the overtime requirements of the FLSA.

       43.    Despite the entitlement of Plaintiff to overtime payments under the FLSA,

Defendants failed to pay Plaintiff an overtime rate of one and one-half times his regular

rate of pay for all hours worked over forty (40) in each week.

       44.    Defendants’ failure to pay Plaintiff all overtime wages owed was willful.

       45.    By reason of the unlawful acts alleged herein, Defendants are liable to

Plaintiff for monetary damages, liquidated damages, and costs, including reasonable

attorneys’ fees, for all violations that occurred within the three (3) years prior to the filing

of this Complaint.

                                          V.
                                SECOND CAUSE OF ACTION
                               (Arkansas Minimum Wage Act)

       46.    Plaintiff repeats and re-alleges all previous paragraphs of this Complaint

as though fully incorporated in this section.

       47.    Plaintiff asserts this claim for damages and declaratory relief pursuant to

the AMWA, Ark. Code Ann. § 11-4-201, et seq.

       48.    At all times relevant to this Complaint, Defendants were Plaintiff’s

“employer” within the meaning of the AMWA, Ark. Code Ann. § 11-4-203(4).

       49.    Arkansas Code Annotated §§ 11-4-210 and 211 require employers to pay

all employees a minimum wage for all hours worked up to forty in one week and to pay

                                              Page 6 of 9
                       Dustin Warnock v. Capital City Traffic Control, LLC, et al.
                            U.S.D.C. (E.D. Ark.) Case No. 4:19-cv-813-LPR
                              First Amended and Substituted Complaint
          Case 4:19-cv-00813-LPR Document 2 Filed 01/15/20 Page 7 of 9



one and one-half times regular wages for all hours worked over forty hours in a week,

unless an employee meets the exemption requirements of 29 U.S.C. § 213 and

accompanying Department of Labor regulations.

       50.    At all times material herein, Defendants misclassified Plaintiff as exempt

from the overtime requirements of the AMWA.

       51.    Despite the entitlement of Plaintiff to overtime payments under the AMWA,

Defendants failed to pay Plaintiff an overtime premium for all hours worked over forty

(40) in each week.

       52.    Defendants’ failure to pay Plaintiff all wages owed was willful.

       53.    By reason of the unlawful acts alleged herein, Defendants are liable to

Plaintiff for monetary damages, liquidated damages, and costs, including reasonable

attorneys’ fees, for all violations that occurred within the 3 years prior to the filing of this

Complaint pursuant to Ark. Code Ann. § 11-4-218.

                                               VI.
                                      THIRD CAUSE OF ACTION
                  (Violation of the Anti-Retaliation provisions of the FLSA)

       54.    Plaintiff repeats and re-alleges all previous paragraphs of this Complaint

as though fully incorporated in this section.

       55.    Defendants’ termination of Plaintiff was a direct and willful violation of the

FLSA’s anti-retaliation provisions at subsection 215(a)(3), which forbids employers from

firing or otherwise taking retaliatory action against individuals who have asserted their

rights under the FLSA.

       56.    Pursuant to the FLSA, employers may not “discharge or in any other

manner discriminate against any employee because such employee has filed any
                                              Page 7 of 9
                       Dustin Warnock v. Capital City Traffic Control, LLC, et al.
                            U.S.D.C. (E.D. Ark.) Case No. 4:19-cv-813-LPR
                              First Amended and Substituted Complaint
            Case 4:19-cv-00813-LPR Document 2 Filed 01/15/20 Page 8 of 9



complaint or instituted or caused to be instituted any proceeding under or related to [the

FLSA], or has testified or is about to testify in any such proceeding, or has served or is

about to serve on an industry committee.” 29 U.S.C. § 215(a)(3).

       57.     Protection from retaliation applies to both former and present employees.

       58.     Plaintiff engaged in protected activity by filing his Original Complaint.

       59.     Defendants fired Plaintiff in a clear act of retaliation against Plaintiff solely

due to Plaintiff’s filing of this lawsuit.

       60.     Plaintiff should be compensated for lost income due to Defendants’

unlawful retaliation, and should be compensated for any pain, suffering, or loss of face

suffered as a result of Defendants’ actions.

       61.     Further, punitive damages should be assessed against Defendants for

their blatant and willful actions to retaliate against Plaintiff for his participation in this

case and to intimidate Plaintiff in direct and intentional violation of the anti-retaliation

provisions of the FLSA.

       62.     Any employees of Defendants who participated in the retaliatory acts

against Plaintiff should be subject to criminal sanction pursuant to 29 U.S.C. § 216(a).

                                             VII.
                                      PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiff Dustin Warnock respectfully

requests that this Court grant the following relief:

       A.      Summon each Defendant to appear and answer herein;

       B.      Enter declaratory judgment that the practices complained of herein are

unlawful under Federal and Arkansas law;


                                               Page 8 of 9
                        Dustin Warnock v. Capital City Traffic Control, LLC, et al.
                             U.S.D.C. (E.D. Ark.) Case No. 4:19-cv-813-LPR
                               First Amended and Substituted Complaint
            Case 4:19-cv-00813-LPR Document 2 Filed 01/15/20 Page 9 of 9



       C.      Enter an Order for complete and accurate accounting of all the

compensation to which Plaintiff is entitled;

       D.      Award Plaintiff compensatory damages in an amount equal to the unpaid

back wages at the applicable minimum wage from a period starting three (3) years prior

to the date he brought this claim through the date of trial;

       E.      Judgment for liquidated damages pursuant to the Fair Labor Standards

Act, 29 US.C. § 201, et seq., and attendant regulations at 29 C.F.R. § 516 et seq., in an

amount equal to all unpaid compensation owed to Plaintiff during the applicable

statutory period;

       F.      Judgment for liquidated damages pursuant to the Arkansas Minimum

Wage Act, Ark. Code Ann. § 11-4-201, et seq. and the relating regulations;

       G.      An award to Plaintiff of all recoverable costs, expenses, and attorneys’

fees incurred in prosecuting this action, together with all applicable interest; and

       H.      All such other relief to which this Court may find Plaintiff entitled.

                                                Respectfully submitted,

                                                PLAINTIFF DUSTIN WARNOCK

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                                              Page 9 of 9
                       Dustin Warnock v. Capital City Traffic Control, LLC, et al.
                            U.S.D.C. (E.D. Ark.) Case No. 4:19-cv-813-LPR
                              First Amended and Substituted Complaint
